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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

-against-                                        No. 19-CR-561 (LAP)

STEVEN DONZIGER,                                         ORDER

                       Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

     Counsel shall confer and inform the Court by letter of a

proposed briefing schedule related to Mr. Donziger’s motion

[dkt. no. 227] for discontinuation of home confinement and

electronic monitoring.

SO ORDERED.

Dated:       December 17, 2020
             New York, New York


                               __________________________________
                               LORETTA A. PRESKA
                               Senior United States District Judge




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